Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 1 of 10

AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

 

 

 

for the

District of Maryland ; eri

GARRETH PARKS ) So
Plaintiff )

Vv. ) Civil Action No. 1:18-cv-03092-TDC
)
BALTIMORE POLICE DEPARTMENT, et al. ) (If the action is pending in another district, state where:
Defendant ) )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Baltimore City Public Schools, Office of Student Records, 200 E. North Ave., Rm 115, Baltimore, MD 21202
CC: Joshua Civin, Chief Legal Counsel, Baltimore City Public Schools, 200 E. North Ave., Rm 208, Baltimore MD

@ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the

material: SEE ATTACHED RIDER

 

Place: Nathan & Kamionski LLP Date and Time:

201 N. Charles St, Suite 1202 ;
Baltimore, Maryland 21201 RereOees 2.60 Bm

 

 

 

C1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

= Date and Time:

The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are

attached.

 

 

 

 

 

Date: 03/06/2020

CLERK OF COURT
OR
/s/ Mayer Engelsberg

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail, and telephone number of the attorney representing (name of party) Defendant Officers
, Who issues or requests this subpoena, are:

 

Mayer Engelsberg, 201 N. Charles St, Suite 1202, Baltimore, MD 21201, mengelsberg@nklawllp.com, 410-885-4349

 
Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 2 of 10

AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:18-cv-03092-TDC

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

This subpoena for (name of individual and title, if any)

 

was received by me on (date)

1 I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ; or

 

© I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

 

Printed name and title

 

Server's address

Additional information regarding attempted service, etc:
Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 3 of 10

AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)

(c) Protecting a Person Subject to a Subpoena.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or
attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a
person subject to the subpoena. The issuing court must enforce this
duty and impose an appropriate sanction — which may include lost
earnings and reasonable attorney’s fees — on a party or attorney
who fails to comply.

(2) Conunand to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or
to permit the inspection of premises, need not appear in person at the
place of production or inspection unless also commanded to appear
for a deposition, hearing, or trial.

(B) Odjections. A person commanded to produce documents or
tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to
inspecting, copying, testing or sampling any or all of the materials or
to inspecting the premises — or to producing electronically stored
information in the form or forms requested. The objection must be
served before the earlier of the time specified for compliance or 14
days after the subpoena is served. If an objection is made, the
following rules apply:

(i) At any time, on notice to the commanded person, the serving
party may move the issuing court for an order compelling production
or inspection.

(ii) These acts may be required only as directed in the order, and
the order must protect a person who is neither a party nor a party’s
officer from significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the issuing court must
quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person who is neither a party nor a party’s officer
to travel more than 100 miles from where that person resides, is
employed, or regularly transacts business in person — except that,
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to
attend a trial by traveling from any such place within the state where
the trial is held:

(iii) requires disclosure of privileged or other protected matter, if
no exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by
a subpoena, the issuing court may, on motion, quash or modify the
subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information;

(ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from
the expert’s study that was not requested by a party; or

(iii) a person who is neither a party nor a party’s officer to incur
substantial expense to travel more than 100 miles to attend trial.

(C) Specifying Conditions as an Alternative. In the circumstances
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:

(i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably
compensated.

(d) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information.
These procedures apply to producing documents or electronically
stored information:

(A) Documents, A person responding to a subpoena to produce
documents must produce them as they are kept in the ordinary
course of business or must organize and label them to correspond to
the categories in the demand.

(B) Form for Producing Electronically Stored Information Not
Specified. If a subpoena does not specify a form for producing
electronically stored information, the person responding must
produce it in a form or forms in which it is ordinarily maintained or
in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One
Form. The person responding need not produce the same
electronically stored information in more than one form.

(D) /naccessible Electronically Stored Information. The person
responding need not provide discovery of electronically stored
information from sources that the person identifies as not reasonably
accessible because of undue burden or cost. On motion to compel
discovery or for a protective order, the person responding must show
that the information is not reasonably accessible because of undue
burden or cost. If that showing is made, the court may nonetheless
order discovery from such sources if the requesting party shows
good cause, considering the limitations of Rule 26(b)(2)(C). The
court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed
information under a claim that it is privileged or subject to
protection as trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents,
communications, or tangible things in a manner that, without
revealing information itself privileged or protected, will enable the
parties to assess the claim.

(B) information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it.
After being notified, a party must promptly return, sequester, or
destroy the specified information and any copies it has; must not use
or disclose the information until the claim is resolved; must take
reasonable steps to retrieve the information if the party disclosed it
before being notified; and may promptly present the information to
the court under seal for a determination of the claim. The person
who produced the information must preserve the information until
the claim is resolved.

(e) Contempt. The issuing court may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena. A nonparty’s failure to obey must be excused if the
subpoena purports to require the nonparty to attend or produce at a
place outside the limits of Rule 45(c)(3)(A)(ii).
Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 4 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

GARRETH PARKS, )
)

Plaintiff, ) Case No. 18-CV-03092-TDC
)
vs. )

) Judge Theodore D. Chuang

BALTIMORE POLICE DEPARTMENT, _ )
et al., )
)
Defendants. )

SUBPOENA RIDER

Please provide any and all documents in your possession relating to Garreth Antonio Parks, DOB
03/31/19xx, and Joseph Gerrad Smith DOB 09/21/19xx, related to the following:

Educational records that reflect testing results, grades, and individualized educational
plans;

Disciplinary records that relate to Garreth Antonio Parks and/or Joseph Gerrad Smith
possessing a weapon;

Disciplinary records for events that involve both Garreth Antonio Parks and Joseph Gerrad
Smith;

Attendance records that relate to both Garreth Antonio Parks and Joseph Gerrad Smith —
e.g. shared classes.

All other information unrelated to the above-listed categories should be redacted.

Upon information and belief, the last school attended by Garreth Antonio Parks was Pimlico
Middle School.

Upon information and belief, the last school attended by Joseph Gerrad Smith was Northwestern
High School.

** Production by Certified Mail to Mayer Engelsberg, Nathan & Kamionski LLP, 201 N.
Charles St., Suite 1202, Baltimore, MD 21201, or by e-mail to mengelsberg@nklawllp.com is
sufficient.
Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 5 of 10
Case 1:18-cv-03092-TDC Document115 Filed 03/03/20 Page 1 of 6

IN THE UNITED STATES DISTRICT

COURT FOR THE DISTRICT OF
MARYLAND
GARRETH PARKS )
Plaintiff,
Vv. 1:18-cv-03092-TDC
BALTIMORE POLICE DEPARTMENT et. al., The Honorable Theodore D. Chuang
Defendants.

Confidentiality Protective Order

Whereas, the parties have stipulated that certain discovery material be treated as
confidential;

Accordingly, it is this 3 day of Marck , 2? by the United States
District Court for the District of Maryland, ORDERED:

1, Designation of Discovery Materials as Confidential. All documents produced in
the course of discovery, all Answers to Interrogatories, all Answers to Requests for Admission,
all Responses to Requests for Production of Documents, all deposition testimony and deposition
exhibits, and the Baltimore Public Schools (“BPS”) or other schools’ student records of Garreth
Antonio Parks, and Joseph Smith including their enrollment and graduation status, transcripts,
and disciplinary history (hereinafter collectively “documents”) shall be subject to this Order
. concerning confidential information, as set forth below. It is understood that this Order is in
addition to all prior Orders entered by this Court concerning preservation, production and
inspection of items produced in discovery:

(a) The designation of confidential information shall be made by placing or affixing

on the document, in a manner which will not interfere with its legibility, the word
Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 6 of 10
Case 1:18-cv-03092-TDC Document 115 Filed 03/03/20 Page 2 of 6

“CONFIDENTIAL.” One who provides material may designate it as
“CONFIDENTIAL” only when such person in good faith believes it contains sensitive
personal information, trade secrets or other confidential information which is in fact
confidential. Any and all BPS or other schools’ student records of Garreth Antonio Parks
and Joseph Smith are deemed “CONFIDENTIAL — SUBJECT TO PROTECTIVE
ORDER” without markings. A party shall not routinely designate material as
“CONFIDENTIAL,” or make such a designation without reasonable inquiry to determine
whether it qualifies for such designation. Except for documents produced for inspection
at the party’s facilities, the designation of confidential information shall be made prior to,
or contemporaneously with, the production or disclosure of that information. In the event
that documents are produced for inspection at the party’s facilities, such documents may
be.produced for inspection before being marked confidential. Once specific documents
have been designated for copying, any documents containing confidential information
will then be marked confidential after copying but before delivery to the party who
inspected and designated the documents. There will be no waiver of confidentiality by
the inspection of confidential documents before they are copied and marked confidential
pursuant to this procedure. |

(b) Portions of depositions of a party’s present and former officers, directors,
employees, agents, experts, and representatives shall be deemed confidential only if they
are designated as such when the deposition is taken or within seven business days after
receipt of the transcript. Any testimony which describes a document which has been
designated as “CONFIDENTIAL,” as described above, shall also be deemed to be

designated as “CONFIDENTIAL.”
Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 7 of 10

Case 1:18-cv-03092-TDC Document 115 Filed 03/03/20 Page 3 of 6
{c) Information or documents designated as confidential under this Order shall not be
used or disclosed by the parties or counsel for the parties or any persons identified in
subparagraph (d) below for any purposes whatsoever other than preparing for and
conducting the litigation in which the information or documents were disclosed
(including appeals). The parties shall not disclose information or documents designated
as confidential to putative class members not named as plaintiffs in putative class
litigation unless and until one or more classes has/have been certified.

(d) The parties and counsel for the parties shall not disclose or permit the disclosure

of any documents or intention designated as confidential under this Order to any other

person or entity, except that disclosures may be made in the following circumstances:
(i) Disclosure may be made to counsel and employees of counsel for the
parties who have direct functional responsibility for the preparation and trial of
the lawsuit. Any such employee to whom counsel for the parties makes a
disclosure shall be provided with a copy of, and become subject to, the provisions
of this Order requiring that the documents and information be held in confidence.
(ii) | Disclosure may be made only to employees of a party required in good
faith to provide assistance in the conduct of the litigation in which the information
was disclosed.
(iii) | Disclosure may be made to court reporters engaged for depositions and
those persons, if any, specifically engaged for the limited purpose of making
photocopies of documents. Prior to disclosure to any such court reporter or
person engaged in making photocopies of documents, such person must agree to

be bound by the terms of this Order.
Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 8 of 10
Case 1:18-cv-03092-TDC Document 115 Filed 03/03/20 Page 4 of 6

(iv) Disclosure may be made to consultants, investigators, or experts
(hereinafter referred to collectively as “experts”) employed by the parties or
counsel for the parties to assist in the preparation and trial of the lawsuit. Prior to
disclosure to any expert, the expert must be informed of and agree in writing to be
subject to the provisions of this Order requiring that the documents and
information be held in confidence.

(e) Except as provided in subparagraph (d) above, counsel for the parties shall keep

all documents designated as confidential which are received under this Order secure

within their exclusive possession and shall take reasonable efforts to place such
documents in a secure area.

(f) All copies, duplicates, extracts, summaries, or descriptions (hereinafter referred to

collectively as “copies”) of documents or information designated as confidential under

this Order or any portion hereof shall be immediately affixed with the word

“CONFIDENTIAL” if that word does not already appear.

2. Scope of Documents to be Released Pursuant to a Subpoena. In order to ensure
the privacy of Garreth Antonio Parks and Joseph Smith, the documents that can be released
under this Court Order are as follows:

(a) Educational records that reflect testing results, grades, and individualized
educational plans;

(b) Disciplinary records that relate to Garreth Antonio Parks and/or Joseph Smith
possessing a weapon;

(c) Disciplinary records for events that involve both Garreth Antonio Parks and

Joseph Smith; and
Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 9 of 10
Case 1:18-cv-03092-TDC Document 115 Filed 03/03/20 Page 5 of 6

(d) | Attendance records that relate to both Garreth Antonio Parks and Joseph Smith —
e.g. shared classes.

All other information unrelated to the above-listed categories should be redacted.

By Confidential Information Filed with Court. To the extent that any materials
subject to this Confidentiality Order (or any pleading, motion, or memorandum disclosing them)
are proposed to be filed or are filed with the Court, sdnsnecenatedbls and papers, or any portion
thereof which discloses confidential information, shall be filed under seal (by the filing party)
with the Clerk of the Court with a simultaneous motion pursuant to L.R. 104.13(c) (hereinafter
the “Interim Sealing Motion”), in accordance with the current version of the Court’s Electronic
Filing Requirements and Procedures for Civil Cases. The Interim Sealing Motion shall be
governed by L.R. 105.11. Even if the filing party believes that the materials subject to the
Confidentiality Order are not properly classified as confidential, the filing party shall file the
Interim Sealing Motion; provided, however, that the filing of the Interim Sealing Motion shall be
wholly without prejudice to the filing party’s rights under paragraph (4) of this Confidentiality
Order.

4, Party Seeking Greater Protection Must Obtain Further Order. No information
may be withheld from discovery on the ground that the material to be disclosed requires
protection greater than that afforded by paragraph (1) of this Order unless the party claiming a
need for greater protection moves for an order providing such special protection pursuant to Fed.
R. Civ. P. 26(c).

5. Challenging Designation of Confidentiality. A designation of confidentiality may

be challenged upon motion. The burden of proving the confidentiality of designated information
Case 1:18-cv-03092-TDC Document 124-1 Filed 05/12/20 Page 10 of 10
Case 1:18-cv-03092-TDC .Document 115 Filed 03/03/20 Page 6 of 6

remains with the party asserting such confidentiality. The provisions of Fed. R. Civ. P. 37(a)(5)
apply to such motions.

6." Return of Confidential Material at Conclusion of Litigation. At the conclusion of
the litigation, all material treated as confidential under this Order and not received in evidence
shall be retumed to the originating party. If the parties so stipulate, the material may be
destroyed instead of being returned. The Clerk of the Court may return to counsel for the parties,

or destroy, any sealed material at the end of the litigation, including any appeals.

The Honorable Theodore SeGhuang
United States Disco Sy
